    Case 19-23492-SLM            Doc 27 Filed 12/05/19 Entered 12/05/19 15:57:12                     Desc Ntc of
                                      Confirmation Hrg Page 1 of 1
Form 132 − 13sum

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 19−23492−SLM
                                         Chapter: 13
                                         Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   James A. Gilmartin
   131 Rock Road
   Glen Rock, NJ 07452
Social Security No.:
   xxx−xx−9756
Employer's Tax I.D. No.:


                           NOTICE OF HEARING ON CONFIRMATION OF PLAN



Date:                 2/26/20
Time:                 08:30 AM
Location:              Courtroom 3A, Martin Luther King Jr. Federal Building, 50 Walnut Street, Courtroom 3A,
Newark, NJ 07102

             An objection to confirmation of the plan, including any motions referenced therein to avoid judicial liens
under 11 USC section 522(f) and/or to avoid liens and reclassify claims in whole or in part, shall be filed and served
seven days before confirmation. Filing a motion for relief from the automatic stay will not be considered an objection
to the confirmation.

          If, at the confirmation hearing, it is determined that the debtor's plan is not confirmable, the case
may be dismissed or converted.

A copy of the Plan will follow this notice.




Dated: December 5, 2019
JAN: rah

                                                       Jeanne Naughton
                                                       Clerk, U. S. Bankruptcy Court
